     Case 4:25-cv-01824-JST        Document 47-1          Filed 03/03/25   Page 1 of 8



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12
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13

14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                     Case No. 4:25-cv-1824-JTS
17   al.;
                                                           DECLARATION OF IYA DAMMONS
                                     Plaintiffs,           OF BALTIMORE SAFE HAVEN CORP
18
                                                           IN SUPPORT OF PLAINTIFF’S
19          v.                                             COMPLAINT AND MOTION FOR
                                                           PRELIMINARY INJUNCTION
     DONALD J. TRUMP, in his official capacity as
20     President of the United States, et al.
21
                                     Defendants.
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                 DECLARATION OF IYA DAMMONS ISO PLS.’ COMPL AND MOT. FOR PI CASE NO.
                                         4:25-cv-1824 JTS
          Case 4:25-cv-01824-JST            Document 47-1          Filed 03/03/25        Page 2 of 8




             I, !ya Dammons, hereby state as fo llows:


 2           I. I am the Founder & Executive Director of Baltimore Safe Haven Corp (" BSH "), a

 3   not-for-profit 50 I (c)(3) organization based in Baltimore, Maryland. BSH is rooted in its mission

 4   to empower transgender, lesbian, gay, bisexual, queer, intersex, and asexual ("TLGBQIA+")

 5
     individuals in Baltimore who are navigating survi val modes by provid ing inc lusive and
 6
     supportive spaces, resources, and opportunities. Our mission is to foster an environment where
 7
     every member of the TLGBQIA+ community not only s urvives but thrives, promoting resilience,
 8
     dignity, and inc lusivity as we collective ly work towards a more compassionate and equitable
 9

10   Baltimore.

11           2. I submit this Declaration in support of Pla intiffs' Complaint and Motion for a

12   Preliminary Injunction, which seek to prevent Defendant agencies and their leadership from
13
     enforcing Executive Order No. 14 168 ·'Defending Women From Gender Ideo logy Extremism
14
     and Restoring Bio logical Truth to the Federal Government," issued January 20, 2025; Executive
15
     Order No. 141 5 1 " Ending Radical and Wasteful DEi Programs and Preferencing," issued
16
     January 20, 2025; and Executi ve Order No. 14173 " Ending Illegal Discrimination and Restoring
17

18   Merit-Based Opportunity," issued January 21 , 2025 (co llectively, the "Executive Orders" ), and

19   related agency directives that seek to enforce illegal, ultra vires Pres idential action.

20           3. BSH was founded in 2018 with a visionary mission: to forge a supportive community
21
     and essential resource for TLGBQ IA+ individuals, espec ially focusing on Black transgender
22
     women navigating survival mode living. As someone with lived experience, I founded BSH as a
23
     mutual aid organization focused on providing life-saving s upport for survival sex workers and
24
     other margina lized TLGBQI A+ indi v iduals. Our work began with a comprehensive wellness and
25

26   outreach program, meeting people where they were---on the stroll, in encampments, and in

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          DECLARA Tl ON OF IYA DAMMONS ISO PLS.' COMPL. AND MOT. FOR Pl, CASE NO.
                                               4:25-cv-1824-JTS
         Case 4:25-cv-01824-JST            Document 47-1         Filed 03/03/25      Page 3 of 8




     overlooked parts of the city-provid ing safer sex education, overdose prevention tools, and peer

     support.
 2

 3          4.   Within a year, BSH was granted 50 I (c)(3) status and was able to begin a pply ing for

 4   grant fund ing to expand our miss ion. We received $ 100,000 in pass-thro ugh grant funding from

 5   the Substance Abuse and Mental Health Services Administration (" SAMHSA" ) via the
 6
     Mary land Department of Health and used it to advance our mobile outreach work and open a
 7
     brick-and-mortar drop-in center. There we could provide hot meals, showers, laundry services, a nd
 8
     case management, as wel l as a safe, affirming environment where peo ple cou ld rest, connect
 9
IO   with peers, and access harm reduction services related to substance use. Over time our drop-in

II   center has expanded its services to include behavioral health coordination and crisis inte rvention,

12   integrated physical hea lth services including HIV testing and sexual health care, workforce

13
     support, and legal support.
14
            5. Our mobile outreach programs continue to this day, including week ly overnight
15
     mobile outreach on Fridays a nd Saturdays to high-ri sk areas, prov iding basic needs and survival
16
     support; health a nd harm reduction services such as sterile syringes, naloxone kits, safe sex
17

18   supplies, HIV testing and linkage to other medical care services; and peer support and navigation

19   to TLGBQIA+ community members in need.

20          6. In 2020, BSH launched our first housing program- an emergency and transitional
21
     housing program a imed at underserved youth aged 18- 24. This work was supported by pass-
22
     through Housing and Urba n Development (" HUD'") grants from the Maryland Department o f
23
     Hea lth and the Mayor's Office of Homelessness Services through the City of Baltimore. Since
24
     then, we have expanded our housing supports s ign ificantly, providing homelessness prevention
25

26   services a imed at ass isting TLGBQIA+ ind ividuals at risk of homelessness, emergency and

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          DEC LARATIO    OF IYA DAMMONS ISO PLS .• COM PL. AND MOT. FOR Pl, CASE 0 .
                                              4:25-cv-1824-JTS
             Case 4:25-cv-01824-JST         Document 47-1          Filed 03/03/25   Page 4 of 8




     transitiona l hous ing, permanent supportive housing for older adults, housing placement

     ass ista nce, and housing stability support.
 2

 3      7.        BSH a lso provides extensive community programming, fostering cu ltural res ilience,

 4   advocacy, and peer support thro ugh community-driven initiatives. Th is includes a Ballroom Arts

 5   & Health Initiative integrating Black TLGBQIA+ ballroo m culture w ith hea lth and wellness
 6
     resources; quarterly commun ity Events focusing on advocacy, we llness, a nd celebration of
 7
     TLGBQIA+ resilience; Baltimore Trans Pride, an advocacy march and resource block party with
 8
     30+ local TLGBQ IA+ supportive organizations; safe spaces for mental health support, shared
 9
10   experie nces, and co llective healing; and programs tailored for aging TLGBQIA+ individuals,

11   ensuring safe, affirming housing and community connections.

12             8. Currently, approximately 80% of BSH 's budget comes from federal grant money. In
13
     2024, we launched a capital campaign to establish BSH' s first permanent home- the Safe Haven
14
     Campus, a one-stop TLGBQIA+ housing and resource center, bringing together housing, harm
15
     reduction, healthcare, workforce development, and community-building initiatives under one
16
     roof. Congressman Kweisi Mfume secured an appropriation of $1 million of HUD Com munity
17

18   Deve lopment funding to he lp us purchase the building, wh ich was supposed to become available

19   to us shortly after the beg inning of the year. We had completed the purchase of the building on

20   December 3 1, 2024 and uploaded a ll of the required documents to the HU D porta l for drawing
21
     down federal funding. Soon after the Executive Orders issued , we were receiving notifications
22
     that the funding was available to us and had been deposited into our account, but it was not. We
23
     became very concerned that the funding was being he ld up because of the Executive Orders'
24
     restrictions on BSH 's core work. We cou ld not get a ho ld o f any HUD staff me mber who could
25

26   provide us w ith any insight. Finally, on February 18, 2025, the money was deposited into our

27   account.

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             DECLARATIO   OF IYA DAMMONS ISO PLS.· COMPL. A D MOT. FOR Pl, CASE NO.
                                                4:25-cv-1824-JTS
         Case 4:25-cv-01824-JST           Document 47-1         Filed 03/03/25    Page 5 of 8




            9. BSH also receives approximately $3 million in operating funds via federa l grant

     money, whether directly or as a subgrantee. These include the fo llowing for 2025 as part of
 2

 3   multi-year agreements:

 4                  a.     We receive two grants of H UD dollars from the Mayor ' s Office of

 5
            Homeless Serv ices through the City of Baltimore. The first is for $239,000 in fundin g
 6
            from the HUD Youth Homelessness Demonstration Project to fund our transitional
 7
            housing program for 18- 24-year-olds.     The second is for $751 ,000 in funding from
 8
            HUD's Continuum of Care Program· s Transitiona l Housing/Rapid Rehousing component
 9

10          to fund our transitional housing and rental assistance programs.

II                  b.     We receive a $ 182,000 grant of fundin g from the Centers for Disease

12          Control and Prevention ("'CDC") via the Baltimore City Health Department ('' BCHD" ).

13
            The fundin g was provided to the BCHD through the C DC' s Hig h lmpact HIV and
14
            Surveillance Programs for Health Departments, part of the CDC's lo ngstanding " Ending
15
            the HIV Epidemic" initiative.    When the BCHD issued its request for proposals from
16
            subgrantees, it s pecifically invited proposals for HIV-prevention programs with a focus
17

18          on transgender people in the zip codes BSH most regularly serves.

19                 c.      We rece ive a $630.000 grant o f SAMHSA funds through the Maryland

20          Department of Health to support our harm reduction efforts, with a focus towards
21
            preventing overdoses and HIV transmission. While the Department's RFP for this grant
22
            was more generally about optimiz ing services for people who use drugs, BSH 's proposal
23
            focused on expanding harm reduction efforts to T LGBQIA+ individuals living in survival
24
            mode in Baltimore.
25

26          I 0.   The Executive Orders threaten this funding. Res pecting transgender people and

27   advancing our civil rights is central to BSH's identity, advocacy, and mi ssion, and a necessary

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          DEC LARATIO    OF IYA DAMMONS ISO PLS.' COMPL. AND MOT. FOR Pl, CASE NO.
                                             4:25-cv-1824-JTS
          Case 4:25-cv-01824-JST            Document 47-1         Filed 03/03/25      Page 6 of 8




     part of every aspect of the services we provide. BSH 's origin as an organization created by

     transgender people for transgender people makes it imperative that we not only fight injustices
 2

 3   against transgender people but provide our services to our community in a culturally compe tent

 4   way. It is the cornerstone of our identity.

 5           I I.   Even though we serve everyone, we are a trans-led organization and being forced
 6
     to hide or diminish that part of our identity would harm both us and our clients. It would harm
 7
     us because we are unique in that we are Ba ltimore's only trans-led drop-in wellness center. And
 8
     it wou ld also harm our clients by eroding their trust in us, since many clients turn to us
 9

10   specifically because of our trans-centered background and approach. Being forced to abandon

11   that focus would turn us into just another agency that does not serve the transgender community,

12   leaving no one to ensure that the multiply marg inalized transgender people we serve have access
13
     to basic necessities-hous ing, food, and the ability to survive. It would diminish our community
14
     and our leadership.
15
             12.    BSH takes an equitable approach to prov iding services, focusing our reso urces on
16
     underserved communities and, in fact, many of our grants require us to take this approach. Our
17

18   programming purposely centers around Black transgender women, recognizing that this

19   population experiences the most significant barriers created by racism, homophobia, transphobia,

20   and sex ism. Our staffs wo rk is rooted in the ir own lived experience and in peer-led initiatives
21
     because there is no substitute for having walked the wa lk and experienced things and come out
22
     on the other side. Understanding of the system is what a llows community-led solutions to come
23
     through. The Executive Orders would require us to ignore that Black transgender women do not
24
     have the same access to healthcare, housing, or economic mobility-every measure of health and
25

26   wellness. Not only would this do tremendous harm to the TLGBQJA+ people who look to us for

27   care and support, but we would lose the abi lity to identify other marg inalized populations in need

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          DEC LARATIO      OF IYA DAMMO S ISO PLS.' COMPL. A D MOT. FOR Pl, CASE NO.
                                               4:25-cv-1824-JTS
         Case 4:25-cv-01824-JST             Document 47-1         Filed 03/03/25       Page 7 of 8




     of the same supports and services, such as cisgender women engag ing in surviva l sex work and

     aging populations.
 2

 3           13.     BSH is an example of what DEi should be; not words or a job title, but having the

 4   power to make decision, provide solutions, a nd work with others to make chances and advocate

 5   in different spaces. For example, we share s paces with BLM, reproductive and bodily autonomy
 6
     groups, and crimina l justice reform groups. Simply put, DEi is our ethos.
 7
             14.    The Executive Orders w ill have a disastrous effect on BSH ' s work because it w ill
 8
     stop our fund ing. There is s imply no way to do our work and fu lfill our mission in a way that
 9

10   does not directly center the experiences of marginalized TLGBQIA+ people. The Executive

l1   Orders attempt to erase even the word that describes who our people are and interrupt critical

12   initiatives and services so lely because they are being provided to certain underserved
13
     communities. Their goal is to get rid of us on every fro nt and to take away the progress we have
14
     made, even if it harms the general community. Ultimately, they w ill cause our clients to
15
     di e-e ither through se lf-harm, murder, untreated disea se, overdose, or being arrested because
16
     they are unhoused. Without this funding, the populations we serve would suffer in immeasurable
17

18   ways.

19           15 .   O ur munic ipal and state grant partners are sharing w ith us mixed messages from

20   their federal grantors. We get the impression that they are ready to sacrifice our subgrants to
21
     keep their broader funding. They have not put anything in w riting or made any public statements,
22
     but that is the message we are getting th rough s ide conversations, in wh ich they have to ld us that
23
     whatever we put in the proposa ls is w hat they are sending along so there is no sh ielding ou r
24
     trans-focused proposals from the federal grantors.
25

26           16.    At an institutiona l level, the loss of this funding wou ld be devastating as the core

27   of our programs would be j eopardized. Financially, it would take us years to rebuild BHS.

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          DECLARATION OF IYA DAMMONS ISO PLS.' COMPL. AND MOT. FOR Pl , CASE NO.
                                               4:25-cv-1824-JTS
          Case 4:25-cv-01824-JST           Document 47-1         Filed 03/03/25     Page 8 of 8




     Although we could try to fundraise, many of our philanthropic partners are also federally funded,

     so the Executive Orders would not allow us to turn to them for support. In the short term, BHS
 2

 3   would not be able to operate as it currently does.

 4
             I declare under penalty of perjury under the laws of the United States of America that the
 5
     foregoing is true and correct.
 6

 7   Dated: February24, 2025                                      submitted,
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          DECLARATION OF IYA DAMMONS ISO PLS.' COMPL. AND MOT. FOR Pl, CASE 0. _
                                              4:25-cv-1824-JTS
